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  EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

     Masih Alinejad,

                                       Plaintiff,
                             v.
                                                        Case Number: 1:19-cv-03599-GMH
     The Islamic Republic of Iran et al.,


                                      Defendants.


                           DECLARATION OF MASIH ALINEJAD

       COMES NOW Masih Alinejad and states as follows:

       1.      I am a naturalized citizen of the United States and a resident of the State of New

York, having come to the United States as a political asylee on July 24, 2014, and having become

a U.S. citizen on October 17, 2019.

       2.      I am a journalist, a women’s rights campaigner, a documentary maker, a TV

presenter and an author. I write, direct and host Tablet, a weekly satirical television show, on Voice

of America. I have published numerous articles for the New York Times, Wall Street Journal,

Washington Post and am the author of “The Wind in My Hair: My Fight for Freedom in Modern

Iran.” I have more than ten million followers on my social media accounts.

       3.      I was born in a tiny village in northern Iran to a poor farming family. My brother

Alireza and I were the two youngest of five children in the family and we developed a close bond.

My brother, 18 months older than me, not only acted as a big brother teaching me little things like

riding a bicycle but also introduced me to great works of literature and politics. He was my

guardian angel. The opening chapter of my memoir, “The Wind in My Hair” published in 2018

opens with an anecdote involving Alireza and how our lives are so intertwined.



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       4.      As a senior in high school, Alireza and I were part of a student group that produced

a student newsletter critical of the Islamic Republic and calling for greater freedoms and

democracy. In May 1995, Alireza and I were arrested and while I received a three-year suspended

sentence for my activities, Alireza had to serve two and a half years in prison. After his release,

he stayed away from any political activity because he didn’t want to return to prison again.

       5.      After I moved to Tehran to become a journalist my marriage fell apart in 2000 and

I went through a painful divorce in September 2000. Alireza was very supportive from providing

emotional support to helping me find a new place to live and helping me with custody issues.

Every weekend I would drive from Tehran to Babol to be with my brother and his family. Through

all the ups and downs of my life, every success or failure, Alireza was always with me.

       6.       As a parliamentary journalist in Iran I exposed corruption and government

mismanagement. Even though I got into trouble with the security forces and the authorities, Alireza

pushed me to write my first book and edited the manuscript. He was always looking out for me.

       7.      In 2009, in the weeks preceding the Iranian Presidential elections, I was forced to

leave Iran or risk being sent to jail. I thought I would return after a short stay abroad.

       8.      Instead, I continued my work from exile, focusing on exposing human rights

violations of the Islamic Republic. I spoke with Alireza almost daily, to catch up with family news

and gossip. He was my conduit to my family and Iran. We were a close-knit family, perhaps

because we had grown up in a village in rural Iran and we had a lot of family. Life in exile was

especially hard for me, but when Alireza became the bridge that connected me and my family

every day, it made it easier for me to bear the distance with his messages and the videos he sent

me almost daily.




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       9.      We communicated almost on a daily basis via text and voice messages and over

WhatsApp and other social media apps. Alireza regaled me of the life in Iran that I had left behind

and kept me up to date with the events in my village and my extended family’s wellbeing. We kept

our chats to family matters and life in my home village of Ghomikola. In return I told him stories

of the challenges of married life in Brooklyn and would often send him short video blogs when I

couldn’t reach him.

       10.     In 2014, I started My Stealthy Freedom, a campaign against compulsory hijab rules

in the Islamic Republic. The campaign encouraged women to post photographs and videos of

themselves without their hijabs as a peaceful protest against the hijab laws which were imposed

only after the creation of the Islamic Republic. From the very beginning, the Islamic Republic

issued threats to silence me.

       11.     For example, soon after the launch of the campaign, Iranian mainstream TV news

reported that I had been raped by three men in London because I wasn’t wearing a hijab. There

was no rape but the aim was to shame me and scare off women. After the news had aired, my

mother called me in tears to complain of how I had brought shame to the family. I was devastated

but Alireza called me soon after to give me his support and he calmed my mother.

       12.     The My Stealthy Freedom campaign has made me a target but it is my family that

is paying the price even though I never involved my family in Iran in my campaigns or my

journalistic endeavors. I expected all communications with people in Iran to be monitored by the

security forces and for this reason did not even discuss sensitive issues with my parents or my

brothers.

       13.     In 2017, Alireza called me late one evening to warn me of an elaborate plot by the

Revolutionary Guards to lure me to Turkey to meet my parents, whom I hadn’t seen for more than




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eight years, to kidnap me. Alireza said under no circumstances should I make any travel plans to

see any of my family in neighboring countries like Turkey or Iraq or Dubai. A number of Iranian

dissidents, most notably Ruhollah Zam in 2020, have been lured to neighboring countries and

kidnapped by the Islamic Republic security forces. After Zam was executed, I received thousands

of emails, Twitter and other messages on social media warning me that I would be next to face

similar punishment.

       14.     In 2018, my sister Mina appeared on primetime national television, hosted by a TV

journalist close to the Revolutionary Guards, to publicly disown me and claim that even my parents

had given up on me. This was extremely painful to me. Alireza informed me that the reality was

that my parents were pressured to appear on the same television program but they refused, and that

my mother was interrogated for more than two hours later by the Intelligence Ministry agents.

       15.     In 2019, Alireza documented all the pressure he was feeling by making a video, in

which he talked of the interrogations faced by my parents and the plot in 2017 by the Islamic

Revolutionary Guards to lure me to Turkey to kidnap me. He sent me the video directly just a few

days before his arrest and asked for it to be published in the case of his arrest.

       16.     In July 2019, the Islamic Republic explicitly passed a law stating that sending any

film related to compulsory hijab activist Masih Alinejad is subject to Article 508 of the Islamic

Penal Code which means cooperation with a hostile country and can be sentenced to up to 10 years

in prison. This was announced by the head of the Revolutionary Court.

       17.     In September 2019, there was an attempt to hack into my emails and social media

accounts from Alireza’s mobile phone and download all my files. Desperately, I reached out to

Alireza but he didn’t answer his mobile phone. When I reached his home phone number, Baran,




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his young daughter, said my brother had been taken away in blindfolds and handcuffs hours earlier.

It was the Iranian intelligence agents who had tried to hack into my accounts.

        18.     That day, I was at work at the VOA’s New York offices. When I heard Alireza had

been arrested, I fainted. My colleagues had to revive me with water and sweets and chocolates

and helped me into a taxi. I remember crying all the way home. I tried reaching the rest of my

family without much success.

        19.     In the early days after his arrest, we had no idea as to his whereabouts. No Iranian

government agency acknowledged that they had Alireza. It was as if he had disappeared from the

face of the earth. It was extremely stressful. I appeared on a number of TV and news programs and

each time I begged the authorities to at least tell me, tell my family in Iran that they had him and

allow his family to at least visit him. We had no idea as to whether he was alive or not. Not knowing

was a form of torture. I could hardly eat or sleep because of the stress and yet I had to keep in mind

that there were at least a dozen women anti-hijab activists also in jail. Even though I was hurting,

I couldn’t just focus on my brother Alireza. I believe the unjust arrest and imprisonment of my

brother is a form of hostage taking to punish me and an intimidation tactic designed to force me

into silence.

        20.     Finally, after days of not knowing, Navid Mihandoost, a film director and a friend

of Alireza’s, called me to say that my brother was being held in section 2A of Evin Prison, which

is where the Revolutionary Guards keep their political prisoners. Section 2A is notorious for its

tough and inhumane interrogations. My sleep became more difficult. When I did fall sleep, I’d

have nightmares so bad that my husband would wake me up to stop me from screaming. This

happened many times.




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       21.     According to Navid my family in Iran had been threatened by the Revolutionary

Guards not to tell me anything about Alireza’s condition or they’d be arrested also. My family,

including my elderly parents and my brothers, were threatened with arrest and jail if they were to

confide in me about Alireza. Navid became my only source of information about Alireza until he

too was also arrested in December 2019 and sentenced to 3.5 years in jail.

       22.     For the majority of Alireza’s detention, I didn’t know about what he was enduring.

The little I did learn was from Navid, family members, and Alireza’s lawyer, but the rest I learned

after his conditional release. For many months Alireza was kept in solitary confinement and

Alireza was interrogated for many days while being denied a lawyer of his own choice. His

eventual lawyer, Saeed Dehghan, told me that the Iranian agents interrogating Alireza were only

concerned with his contacts with me. That was the essence of their case against my brother. I felt

very guilty about being responsible for Alireza’s arrest and detention. Of course, I knew that this

was a ploy by the Islamic Republic to put psychological pressure on the families of the prisoners.

       23.     There was no reason to arrest Alireza except to punish me. After a brief show trial

he was given an eight-year sentence on account of being my brother. He was repeatedly pressured

to denounce me and my campaign. Alireza was offered his freedom if he were to denounce me.

       24.     Around March 2020, I was informed that Alireza was suffering from depression.

This piece of information came in an Instagram message via another political prisoner who was

given furlough. The news upset me tremendously.

       25.     Even more upsetting was the news that Alireza had developed an ear infection but

the authorities would not allow him access to the prison hospital or any medical staff. His situation

only improved after HRANA news agency which focuses on human rights issues publicized his

case and he was allowed to visit Evin’s medical facilities.




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        26.        Alireza was denied access to his family but after a few months he was allowed to

make a limited number of phone calls to his family. However, he could not, and still cannot, phone

me because that would add to his prison terms as one of the charges against him is communicating

with his sister.

        27.        If the aim of the Islamic Republic was to hurt me deeply, let me confess that they

have succeeded. I have lost my bearings. I’ve been devastated by Alireza’s arrest and

imprisonment – he was my brother and my best friend. I’m able to function but there is a big hole

in my life. I miss talking with Alireza in our Mazni dialect and exchanging stories. In the center

of my garden in Brooklyn, I have planted a cherry blossom tree and named it after Alireza. When

I feel sad and depressed, which is quite often these days, I go outside and talk to the tree as if it

was Alireza. It’s a one-way conversation but at least I get to pretend that I’m talking with my

brother. I’ve planted a cherry tree for my mother and a peach tree for my father. These are all to

remind me of my birthplace.

        28.        The pressures on Alireza also extend to his family – Alireza’s wife has been

pressured by the security forces to divorce him .

        29.        I think about my every action and statement and whether it would hurt Alireza.

After Quds Force commander Qassem Soleimani was killed in a drone strike, I was petrified that

as retaliation my brother could be executed. Or when I launched a campaign for the Islamic

Republic to be banned from international sports competition, I received threats that Alireza would

receive additional punishment.

        30.        Since Alireza’s arrest, I have had trouble sleeping and have to take medication to

fall asleep. Even still, my sleep is full of nightmares of Alireza being tortured and hanged in the




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main square in Tehran, or that I am in Iran trying to rescue him but no one can hear my screams.

In some nightmares, Alireza’s two young children, Baran and Rayan, have become destitute.

        31.    I make daily video clips for Alireza in which I talk to him about the events of my

day, my flowers and vegetables and how much I miss him. I hope to show him all the clips one

day.

        32.    Yet, I have to appear strong and not show how much I’ve been hurt. I’ve confided

about the devastating impact of Alireza only to a handful of confidants. I don’t want the Islamic

Republic to know how much they’ve hurt me because the Islamic Republic operatives would then

target my other family members and jail my parents.

        33.    At least 12 people connected to my campaign against compulsory hijab have been

arrested and sentenced to long prison terms in an effort to intimidate and silence me. Three women,

Monireh Arabshahi, Mojgan Keshavarz, Yasamin Ariany are facing 31 years in prison for defying

hijab laws and being part of our campaign. Saba Kordafshari is serving 24 years, while her mother

Raheleh Ahmadi was sentenced to more than 2 years for protesting against her daughter’s jail

term.

        34.    My home address was put on the Internet and I have received hundreds of death

threats and threats of kidnapping and torture on social media. Whenever there is a political

development, the level of threats increases many folds. For months, I’ve received special

protection from local police and the federal agencies and at times have stayed at a safe house.

Because of the death threats against me, I took the precaution of sending away my two stepchildren

for a few months.

        35.    Since my brother’s arrest, my mother has severely curtailed her contacts with me.




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       36.      One of my traits as writer is to write about my mother and our conversations

together. She features strongly on my social media posts and in my books in Persian and also in

my English-language memoir. In my interviews and my public statements, I mention how she is

my true role model but she had not spoken to me for a year or so, after being warned by the security

forces. But, a while back, in September 2020, one of our neighbors visited her and sent me a copy

of their taped conversation. My mother said she was taken for interrogation late one night and the

agents kept her for most of the night. At the end of it all, they warned my mother not to contact

me again. My mother said she had no choice but to heed the warning. The conversation ends with

my mother urging her neighbor to leave in case she gets into trouble.

       37.      Recently, my mother called me with a one sentence message: “Do not travel outside

the US.” She then hung up. I knew that it was dangerous for me to travel because I am a target of

the government of Iran. These fears proved to be true when in July 2021 the U.S. government

made public the details of a plot by Iran’s Ministry of Intelligence to kidnap me from my home in

New York and take me back to Iran. After they failed to lure me out of the country or pressure my

family into tricking me into traveling, they paid operatives to surveil me, my family, my friends,

and my home for an extended period of time, looking for opportunities to abduct me. I know that

if the FBI had not succeeded in foiling Iran’s kidnapping attempt, Iran might have killed me like

Ruhollah Zam.

       38.      Following the Federal Bureau of Investigation’s (FBI) success in foiling Iran’s

kidnapping attempt, the FBI informed me of their belief that the Islamic Republic was no longer

an immediate threat to me. However, the months to follow proved this was not the case.

       39.      On August 23, 2021, two FBI cars arrived at my home in Brooklyn. FBI agents

whisked my husband, Kambiz Foroohar, and me away to a safe location.




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       40.




       41.     In late October and early November of 2021, Kambiz and I traveled to Amsterdam

and London. During this time, we received multiple death threats. On October 28, 2021, while we

were in Amsterdam, agents of the Islamic Republic held an event on Clubhouse – a social media

audio platform that is very popular in the Islamic Republic – called “Masih Alinejad had been

killed”. This caused great distress to my family and friends before we had the chance to set the

record straight. Luckily, the Dutch police provided me with 24/7 protection while I was in

Amsterdam.

       42.     When back in Brooklyn on November 23, 2021, the FBI told us to




       43.     In addition to these ongoing threats against my life, there has also been a change in

my brother’s, Alireza’s, hostage status in Iran. Once the FBI disclosed the kidnapping plot against




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me, the U.S. and public pressure on Iran brought more attention to Alireza’s situation. Further, in

a rare call in summer of 2021, I spoke with Alireza and he told me to stop advocating for

sanctions against the head of Evin Prison, Hamid Mohammadi, and to stop posting about

Mohammadi on social media. He said, “My life is under his control. Please do this for me.” The

fact that he asked me to do something like this against my will shows me that the Iranian

authorities had broken him. I did not stop my activism work.

        44.     In a likely display of Iran’s recognition that the public cost of their treatment of

Alireza was higher than its benefit, especially given their failure to get to me through Alireza, on

August 3, 2021, my brother’s lawyer Mr. Dehghan, announced that my brother was conditionally

released from prison while serving his sentence. My brother was temporarily released on bail,

which my family posted, and on the condition that he must not have any contact or involvement

with me. Otherwise, he will be sent back to jail to complete his sentence. Also, the court may at

any time cancel the bail and return Alireza to jail, whether or not he violates the terms of his

temporary release.

        45.     Even still, I continued to be targeted. In July 2022, New York City police officers

found and arrested a man outside my New York home with a loaded AK-47. This man had

approached my home, peered inside, and attempted to open my front door, all captured on home

security footage.

        46.     The above-stated situation – fearing for my life, fearing for my family, and

satisfying my promise to the Iranian people to continue my work in support of their pursuit for

justice and freedom – is very traumatic. The Iranian regime wants to silence me, and they are

willing to pay any price to achieve this. Because of my refusal to be intimidated by Iran and to

give in to their threats, my brother has been punished and all my loved ones are in danger of

Iran’s retaliation just as I am.

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I declare and can competently testify under penalty of perjury that the foregoing is true and

correct.



                5 day of _________________,
Executed this ____         December         2022.




___________________________

Masih Alinejad




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